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    10 Defendant David Tassillo
    11
                            UNITED STATES DISTRICT COURT
    12
                          CENTRAL DISTRICT OF CALIFORNIA


    14
                                Plaintiff,
    15               V.

    16   MINDGEEK S.A.R.L. a forei~ entity;
         MG FREESITES, LTD., a foreign entity;         Case No. 2:21 -cv-4920
    17   MINDGEEK USA INCORPORATED, a
         Delaware corporation; MG PREMIUM              DECLARATION OF DAVID
    18   LTD, a fo~ei  n enti¥; MG GLOBAL              TASSILLO IN SUPPORT OF
         ENTERT           EN INC. a Delaware           SPECIALLY APPEARING
    19   corporation; 9219-1568 ~EBEC, INC.,           DEFENDANTS FERAS
         foreign entity; BERND B RGAMAIR, a            ANTOON AND DAVID
    20   foreign individual; FERAS ANTOON, a           TASSILLO'S MOTION TO
         foreign individual; DAVID TASSILLO, a         DISMISS THE SECOND
    21   foreign individual; VISA INC.Sa Delaware      AMENDED COMPLAINT
         co~ration; REDWOOD MA TER
    22   F      , LTD, a foreign entity; MANUEL
         20 l 8 LLC, a Delaware cortEoration,
    23   GIN0OGERUM LLC, a elaware
         co~oratioUNn·WHiTE-HATHAWAY
    24   OP ORT ITY FUND, LLC, A
         Delaware c~oration; COLBECK
    25   CAPITAL         NAGEMENT, LLC a
         Delaware Conoration; CB AGENCY
    26   SERVICES, LC A Delaware
         co~oration; and CB PARTICIPATIONS
    27   SP , LLC, a Delaware corporation

    28                          Defendants.

                           DECLARATION OF DAVID TASSILLO
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                 I, David Tassillo, hereby state to the best of my knowledge and belief:
     2           1.    I submit this declaration in support ofmy and Feras Antoon'sjoint
     3   Motion to Dismiss Plaintiffs Second Amended Complaint ("SAC") pursuant to
     4   Federal Rules of Civil Procedure 12(b)(2), 12(b)(6) and 9(b).
     5           2.    This declaration responds to Plaintiffs allegation that I am an alter
     6   ego of various MindGeek entities, including, but not limited to, MindGeek
     7   S.A.R.L., MG Freesites Ltd., MindGeek USA Incorporated, MG Premium Ltd,
     8   MG Global Entertainment Inc., and 9219-1568 Quebec Inc. (collectively,
     9   the"MindGeek Entity Defendants"). This declaration is not intended to address all
    10   the allegations in the SAC relate to me directly or indirectly. I dispute the
    11   allegations of misconduct in the SAC, and by not responding to each of those
    12   allegations here I do not concede the truth of those allegations.
    13   A.      Personal Background
    14           3.    I am a citizen of Canada and have been a Canadian resident since
    15   1978.
    16           4.    I maintain a driver's license in Canada.
    17           5.    I am registered to vote in Canada.
    18           6.    I receive my mail in Canada.
    19           7.    From 1978 to 1996 and from 1997 to the present, I have resided in
    20   Canada, and I intend to maintain my residence in Canada.
    21   B.      Employment History and Terms
    22           8.    At all relevant times, the terms of my employment were governed by
    23   an employment agreement with 9219-1568 Quebec Inc. ("9219 Inc."), a
    24   corporation established under the laws of the Province of Quebec.
    25           9.    Between in or about May 2010 and June 2022, I was employed by
    26   9219 Inc. as its Chief Operating Officer and worked in its principal office located
    27   at 7777 Boulevard Decarie, Montreal, Quebec, Canada.
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                              DECLARATION OF DAVID TASSILLO
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                10.   As the Chief Operating Officer, I reported to 9219 Inc. ' s Chief
     2   Executive Officer, Feras Antoon.
     3          11.   In connection with my employment by 9219 Inc., I provided
     4   managerial services to 9219 Inc., which in tum provided various services to a
     5   number of MindGeek-affiliated entities, pursuant to services agreements between
     6   9219 Inc. and the various MindGeek-affiliated entities.
     7          12.   On or about March 22, 2018, I entered into a Further Amended and
     8   Restated Executive Employment Agreement (the "Employment Agreement") with
     9   9219 Inc. A true and accurate copy of the Employment Agreement is attached as
    10   Exhibit A hereto.
    11          13.   Pursuant to the terms of the Employment Agreement, I received a
    12   base salary and was eligible for an annual bonus authorized by 9219 Inc. 's Board
    13   of Directors (the "9219 Inc. Board"), paid vacation, a monthly car allowance, and
    14   participation in a benefits plan.
    15          14.   In connection with this employment, I held one preferred share of
    16   9219 Inc. About 20 individuals likewise each held one preferred share of 9219
    17   Inc. The 9219 Inc. Board, in its sole discretion, declared and paid dividends in
    18   respect of such share, which were bound by the limitations set by MindGeek's
    19   lenders.
    20          15.   In or about June 2022, I executed a separation agreement with 9219
    21   Inc.
    22   C.     Economic Interest
    23          16.   Since in or about 2013, in connection with my employment by 9219
    24   Inc. and pursuant to the Shareholders Agreement discussed below, I held an
    25   approximate 10% beneficial economic interest in the MindGeek group of entities.
    26          17.   MindGeek S.a.r.l. ("MindGeek Luxembourg"), a corporation
    27   incorporated under the laws of the Grand Duchy of Luxembourg, with its
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                              DECLARATION OF DAVID TASSILLO
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     1   registered office at 46 Grand Rue, L-1660 Luxembourg, Grand Duchy of
     2   Luxembourg, entered into a Shareholders' Agreement dated as of October 13,
     3   2013, with several other entities, as follows: FDCO Holding, Inc. ("FDCO
     4   Holding"); 1 Share Investments S.A.; Coginvest S.A.; Acaju Investments S.A.;
     s MindGeek RK S.a r.l.; RK holdings, LLC; MindGeek RK S.a r.l.; and RT Holding
     6   S.a r.l. (the "Shareholders' Agreement"). A true and accurate copy of the
     7   Shareholders' Agreement is attached as Exhibit B to the August 30, 2024
     8   Declaration of Feras Antoon in support of our joint Motion to Dismiss Plaintiffs
     9   Second Amended Complaint (the "Antoon Declaration").
    10            18.    The Shareholders' Agreement was amended as of March 22, 2018
    11   (the "Amendment"). A true and accurate copy of the Amendment is attached as
    12   Exhibit C to the Antoon Declaration.
    13            19.    FDCO Holding was a company organized under the laws of Canada,
    14   with its principal office located in Montreal, Quebec, Canada.
    15            20.    Pursuant to the Shareholders' Agreement, FDCO Holding regularly
    16   received (i) financial statements prepared for and delivered by MindGeek
    17   Luxembourg; (ii) independent auditor's reports from MindGeek Luxembourg's
    18   auditor, Raymond Chabot Grant Thornton LLP; (iii) minutes from meetings of the
    19   MindGeek Luxembourg shareholders; and (iv) written resolutions of the
    20   MindGeek Luxembourg shareholders.
    21            21.    Prior to on or about March 2023, FDCO Holding held an approximate
    22   31 % economic interest under the Shareholders' Agreement, principally through
    23   MindGeek Luxembourg.
    24            22.    9288-1275 Quebec, Inc. ("9288-1275 Quebec"), a Quebec company,
    25   held approximately 32% of the shares of FDCO Holding.
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    27       FDCO Holding Inc. used to be known as MindGeek Holding Inc.
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               23.   9288-1259 Quebec, Inc. ("9288-1259 Quebec"), a Quebec company,
     2   held approximately 68% of the shares of FDCO Holding.
     3         24.   Prior to in or about March 2023, I held the preferred shares and,
     4   indirectly as a beneficiary of a family trust, held all common shares in 9288-1275
     s Quebec.
     6         25.   Pursuant to the Shareholders' Agreement and Amendment thereto,
     7   MindGeek Luxembourg distributed dividend payments to shareholders, including
     8   FDCO Holding, in amounts determined by the MindGeek Luxembourg Board of
     9   Directors (the "MindGeek Luxembourg Board") or by the general meeting of
    10   shareholders provided the conditions for declaring a dividend were met.
    11         26.   I was not a member of the MindGeek Luxembourg Board.
    12         27.   In years in which dividends were paid, that dividend was paid by
    13   MindGeek Luxembourg to FDCO Holding, and further distributed in proportion to
    14   the holdings in FDCO Holding.
    15         28.   Between in or about 2013 and 2016, MindGeek Luxembourg did not
    16   pay shareholder dividends.
    17         29.   Between in or about 2013 and 2016, I received the equivalent of
    18   dividend payments in the form of a bonus pursuant to MindGeek lender consent
    19   and a profit-sharing mechanism that was in place at 9219 Inc. That profit-sharing
    20   mechanism applied to about 15 other individuals as well.
    21         30.   Those bonus payments were taxed at a greater percentage than the tax
    22   levied on dividends distributed starting in or around 2017 via MindGeek
    23   Luxembourg.
    24         31.   In or about March 2023, FDCO Holding sold its approximate 31 %
    25   interest in MindGeek Luxembourg to ECP One Ltd.
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     1   D.    Personal and Corporate Separateness
     2         32.    At all relevant times, I maintained a separation between personal and
     3   corporate financial affairs of all MindGeek entities.
     4          33.   I have not shared a bank account with either 9219 Inc., MindGeek
     5   Luxembourg, or any other MindGeek Entity Defendant.
     6          34.   I have not had access to any bank account owned by 9219 Inc.,
     7   MindGeek Luxembourg, or any other MindGeek Entity Defendant.
     8          35.    I have not been personally liable for any debts of 9219 Inc.,
     9   MindGeek Luxembourg, or any other MindGeek Entity Defendant.
    10          36.   I have not borrowed money from 9219 Inc., MindGeek Luxembourg,
    11   or any other MindGeek Entity Defendant.
    12          37.   The directors and officers of 9219 Inc. and MindGeek Luxembourg
    13   were not identical.
    14   E.     Certain Investments and Donation
    15          38.    I understand that, in the Second Amendment Complaint, Plaintiff
    16   alleges that I "engaged in substantial self-dealing ... for years." SAC ,r,i 428-29.
    17   This allegation is false.
    18          39.   Among my various personal assets, I own via a family trust, along
    19   with a business partner, an interest in about 36 apartments in Laval, Quebec. My
    20   business partner and I manage these properties, including communications with
    21   tenants and maintenance, legal, and accounting services.
    22         40.    Among my various personal assets, my sister and I held an interest in
    23   about six condominiums located in downtown Montreal, Quebec via a family trust.
    24   My sister performed some management tasks in connection with these four
    25   condominiums. My sister was also an employee of 9219 Inc. between in or about
    26   June 2018 and June 2022.
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               41 .   In connection with the management of these four units, some
     2   personnel of 9219 Inc. occasionally performed services for these four units. For
     3   example, on a few occasions, 9219 Inc.' s legal or accounting departments
     4   reviewed a rental agreement prior to execution. I understand that some personnel
     5   from 9219 Inc.' s facilities department were occasionally asked to respond to
     6   maintenance requests by tenants.
     7         42.    Such work was performed as a favor on personal time. From time to
     8   time, 9219 Inc. personnel declined to provide such assistance, and they faced no
     9   consequences for not performing these tasks. On the few occasions that personnel
    1o of 9219 Inc. did volunteer their personal services, the provision of such services

    11   did not interfere with personnel's work for 9219 Inc., to the best of my knowledge.
    12   No employee was reprimanded for not getting their work done for 9219 Inc.
    13         43.    Among my other personal assets, I, along with Feras Antoon, held a
    14   minority interest in two properties located at 7777 Boulevard Decarie and 8000
    15   Boulevard Decarie in Montreal, Quebec, via a family trust.
    16         44.    As previously noted, the offices of 9219 Inc. are located at the 7777
    17   Boulevard Decarie, Suite 600, Montreal, Quebec.
    18         45.    Prior to our purchase of the building located at 7777 Boulevard
    19   Decarie, Mr. Antoon and I disclosed to all relevant MindGeek boards of directors,
    20   and outside accountants, our intention to purchase an interest in a portion of the
    21   building. To maintain an arm's length negotiation, the majority owners, Mr.
    22   Antoon, and I hired a third-party firm to perform an analysis of rental pricing,
    23   which was the price we then offered to 9219 Inc. The financing department of
    24   9219 Inc. thereafter independently reviewed and approved the rental terms.
    25         46.    Shortly after the purchase of the office building located at 8000
    26   Boulevard Decarie, the COVID-19 pandemic prevented the buildings from being
    27   occupied.
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               47.    I participated in discount programs available to all employees of the
     2   MindGeek entities to purchase - using my personal funds - electronic equipment
     3   such as PCs at $50 to $100 for donation to my children's school.
     4                                           ***
     5         48.    I declare under penalty of perjury under the laws of the United States
     6   of America that the foregoing is true and correct.
     7   Executed on: August 30, 2024
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                             DECLARATION OF DAYID TASSILLO
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